——

‘undersigned attorneys, sues the Defendant, UNITED STATES OF AMERICA,

Case 8:03-cv-00793-EAK-MSS Document1 Filed 04/28/03 Page 1 of 7 PagelD 1
VS pt eM

UNITED STATES DISTRICT COURT

   

 

MIDDLE DISTRICT OF FLOREDMR 28/ PH 3: 93
ca cuurT
CR a ee GE LOKIDA
HE OE FLORIDA
PETER LATTNER, JR.
As Personal Representative of the
Estate of PETER LATTNER, SR.,
Plaintiff, ; —
Ro3cv 79: 3-1-19 MSS
Vv. CASE NO.
UNITED STATES OF AMERICA
Defendant.
/
COMPLAINT

COMES NOW the Plaintiff, PETER LATTNER, JR., as Personal

Representative of the Estate of PETER LATTNER, SR., by and through his

and alleges:

1. This is an action against the UNITED STATES OF AMERICA to
recover money damages for death caused by the negligent acts or omissions of
employees and/or agents acting within the scope of their employment for the
United States of America at the James A. Haley Veteran’s Hospital, Tampa,
Florida under circumstances where the United States, if a private person, would be
liable to the Plaintiff in accordance with the law of the state of Florida, brought

pursuant to 28 U.S.C. §1346(b) and 2671, et seq.
wl
Case 8:03-cv-00793-EAK-MSS Document1 Filed 04/28/03 Page 2 of 7 PagelID 2
Nee! VS

2. Peter Lattner, Jr., is the duly appointed Personal Representative of the
estate of Peter Lattner, Sr., deceased, as evidenced by the attached Exhibit A.

3. This cause of action arises out of acts or omissions occurring in Tampa,
Florida.

4. On October 18, 2002, a claim for money damages was filed by the
Plaintiff with the Department of Veteran’s Affairs, Office of Regional Counsel, P.
O. Box 5005, Bay Pines, Florida 33744.

5. On April 23, 2003, Plaintiff received a denial of the claim by Certified
Mail from the Department of Veteran’s Affairs, Office of Regional Counsel.

6. All conditions precedent to maintaining this action have been performed
or have been waived by the Defendant, UNITED STATES OF AMERICA,
pursuant to 28 U.S.C. § 2675(a).

7. On or about April 11, 2002, Peter Lattner, Sr., was admitted to the James
A. Haley Veteran’s Hospital for the purpose of undergoing a low anterior
resection with diverting ileostomy performed to treat his diagnosis of colon
cancer.

8. After being discharged from the James A. Haley Veteran’s Hospital on
April 17, 2002, Mr. Lattner developed peritonitis and intra-abdominal hemorrhage

secondary to colonic resection of the distal sigmoid that ultimately caused his
Case 8:03-cv-00793-EAK-MSS Document1 Filed 04/28/03 Page 3 of 7 PagelD 3
WI VU

death.

9. At all times material hereto, the Defendant, UNITED STATES OF
AMERICA, through its agents or employees of the James A. Haley Veteran’s
Hospital, Tampa, Florida, had a duty to exercise the level of care, skill, and
treatment which is recognized by reasonably prudent similar health care providers
as being acceptable under similar conditions and circumstances.

10. The UNITED STATES OF AMERICA, through its agents or
employees of the James A. Haley Veteran’s Hospital, Tampa, Florida, was careless
and negligent, and failed to use the level of care, skill and treatment which is
recognized by reasonably prudent similar health care providers as being acceptable
under similar conditions and circumstances by:

a. trapping loops of bowel in the suture line while performing the
colonic resection of the distal sigmoid;

b. failing to properly follow up on the post surgical care and
treatment of a patient who was experiencing symptoms of severe complications
after undergoing a significant surgical procedure such as a colonic resection of the
distal sigmoid.

11. As a direct and proximate cause of the carelessness and negligence of

the agents and/or employees of the UNITED STATES OF AMERICA, PETER
Case 8:03-cv-00793-EAK-MSS Document 1 Filed 04/28/03 Page 4 of 7 PagelD 4
News 7

LATTNER, SR., developed peritonitis and intra abdominal hemorrhage that
ultimately resulted in his death.

12. At the time of his death, PETER LATTNER, SR., was married to
Bernadine Lattner.

13. At all times material hereto, the known potential beneficiaries of a
recovery under Florida’s Wrongful Death Act for the wrongful death of the
decedent, PETER LATTNER, SR., are the following individuals:

a. The Estate of Peter Lattner, Sr., as represented by the Personal
Representative, Peter Lattner, Jr.; and

b. Bernadine Lattner, surviving spouse, residing in Ocoee, Orange
County, Florida.

14. As a direct and proximate result of the negligence of agents and/or
employees of the Defendant, UNITED STATES OF AMERICA, the estate of
PETER LATTNER, SR., as represented by the Personal Representative, Peter
Lattner, Jr., has suffered:

a. medical expenses due to the decedent’s injuries;
b. funeral expenses due to the decedent’s injuries and death;

c. autopsy expenses due to the decedent’s death;
Case 8:03-cv-00793-EAK-MSS Document1 Filed 04/28/03 Page 5 of 7 PagelD 5
WY UY
c. loss of earnings;
e. loss of net accumulations to the estate;
f. any other damages recoverable under the Florida Wrongful Death
Act.

15. As a direct and proximate result of the negligence of agents and/or
employees of the James A. Haley Veteran’s Hospital, the decedent’s surviving
spouse, Bernadine Lattner, has suffered:

a. mental pain and suffering and loss of the decedent’s
companionship and protection in the past and continuing into the future;

b. past and future loss of support and services from the decedent;

c. medical and/or funeral expenses due to the decedent’s injuries and
death;

d. autopsy expenses due to the decedent’s death;

e. any other damages recoverable under the Florida Wrongful Death
Act.

WHEREFORE, Plaintiff, PETER LATTNER, JR., as Personal
Representative of the Estate of PETER LATTNER, SR., sues the Defendant,
UNITED STATES OF AMERICA, and claims damages in the amount of Two

Million Dollars ($2,000,000) together with costs.
Case 8:03-cv-00793-EAK-MSS Document1 Filed 04/28/03 Page 6 of 7 PageID 6
we a,

DATED this .26 “day of Cyoug , 2003.

Whe L hark

MAC A. GRECO, III
Florida Bar No. 0502596
MAC A. GRECO, JR., P.A.
600 Madison Street

Tampa, Florida 33602
(813) 223-7849

Attorneys for Plaintiff
Case 8:03-cv-00793-EAK-MSS Document1 Filed 04/28/03 Page 7 of 7 PagelD 7
ed er]

IN THE CIRCUIT COURT FOR ORANGE COUNTY,

FLORIDA PROBATE DIVISION
IN RE: ESTATE OF
File No. 02
PETER LEE LATTNER 43 -A002- CP ~3337-0
Division A
Deceased

ORDER APPOINTING PERSONAL REPRESENTATIVE

On the petition of Peter Lattner, Jr., for administration of the estate of Peter Lee Lattner
deceased, the court finding that the decedent died on April 24, 2002, and that Peter Lattner, Jr., is
entitled to appointment as personal representative by reason of his relationship to the decedent as

son, it is
ADJUDGED that Peter Lattner, Jr., is appointed personal representative of the estate of

the Decedent, and that upon taking the prescribed oath, filing designation of resident agent and

acceptance, and entering into bond in the sum of 0 /no bond will be required, letters of

 

administration will be issued.
Ordered onkepkmber, |], 2002. |. wagers Tarner
Circuit Judge
are TR Circuit Judge
ES al
|

EXHIBIT A
